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                                                                             FILED
                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA                     [FEB 242012
                                                                         ClERK us DISTRICT COURT
                                                                           ERN DISTRICT OF CALIFORNIA
                                                                                              DEPUTY
UNITED STATES OF AMERICA,                   CASE NO. llCR5419-L

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
IRMA PEREZ MARTINEZ (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed     another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnece~s~rydelay; or

XX   the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Indictment:

         26:5861(d) AND 5871 - UNREGISTERED FIREARM



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: FEBRUARY 21, 20
